Case 23-18993-MBK Doci969_ Filed 02/15/2 Entered 02/15/24 16:01:01 Desc Main

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Chapter 11]

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In re:

Rite Aid of Connecticut, Inc.
Case Number: 23-19006

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er NG Reo cee mm armel Mele onttoe

Name of Creditor: WH-Wallkill Five II, LLC oO Check box if you are aware

(The person or other entity to whom the debtor owed that anyone else has filed a

money or property.) proof of claim relating to your
claim. Attach copy of

Name and Addresses Where Notices Should Be Sent: statement giving particulars.

Richard L. Zucker, Esq. O Check box if you have never

received any notices from the

a a bankruptcy court in this case.
Suite 120 y O Check box if the address differs

from the address on the

Roseland, New Jersey 07068

envelope sent to you by the THIS SPACE IS FOR COURT USE ONLY
court.

ACCOUNT OR OTHER NUMBER BY WHICH CREDITOR Check here if this request:

IDENTIFIES DEBTOR: O replaces a previously filed request, dated:

OJ amends a previously filed request, dated:

1. BASIS FOR CLAIM
O Retiree benefits as defined in 11 U.S.C. §1114(a)

Goods Sold CO Wages, salaries and compensations (Fill out below)
Services performed
Money loaned Provide last four digits of your social security number

Personal injury/wrongful death
Taxes
Other (Describe briefly)

ORMOOOO

2. DATE DEBT WAS INCURRED: October 15 to December 31, 2023

3. TOTAL AMOUNT OF REQUEST AS OF ABOVE DATE: $15,418.85

CO Check this box if the request includes interest or other charges in addition to the principal amount of the request. Attach itemized statement of all
interest or additional charges.
4. Secured Claim
O Check this box if your claim is secured by collateral (including a right of
setoff).

Brief Description of Collateral:

OO Real Estate O Motor Vehicle
O Other (Describe briefly)

Value of Collateral: $

O Check this box if there is no collateral or lien securing your claim.
5. Credits: The amount of all payments have been credited and deducted for the purposes of THIS SPACE IS FOR COURT USE ONLY
making this request for payment of administrative expenses.

6. Supporting Documents: Attach copies of supporting documents, such as purchase orders,
invoices, itemized statements of running accounts, contracts as well as any evidence of perfection
of a lien.

DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain.
If the documents are voluminous, attach a summary.

7, Date-Stamped Copy: To receive an acknowledgment of the filing of your request, enclose a
self-addressed envelope and copy of this request.

Date: Sign and print below the name and title, if any, of the creditor
or oth fo file this request (attach copy of

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Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.

NOTE: The filing of this request will not result in the scheduling of a hearing to consider payment of your administrative claim but will result in
the registry of your administrative claim with the Bankruptcy Court. If you wish to have a hearing scheduled on your claim, you must file a motion
in accordance with D.N.J. LBR 3001-1(b). rev.8/1/15
